       Case 1:18-cr-00258-BLW Document 1431 Filed 05/04/22 Page 1 of 6




                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA
                                              CASE NO. 1:18-CR-00258-BLW

        PLAINTIFF,                            MEMORANDUM DECISION
                                              AND ORDER RE:
         V.                                   GOVERNMENT’S MOTIONS TO
                                              ADMIT RECORDS IN THE 1,000
  PAVEL BABICHENKO, PIOTR                     SERIES (DKT. 1347) AND TO
  BABICHENKO, TIMOFEY                         ADMIT SELF-
  BABICHENKO, KRISTINA                        AUTHENTICATING EMAILS IN
  BABICHENKO, DAVID BIBIKOV,                  THE 4000 EXHIBIT SERIES
  ANNA IYERUSALIMETS, AND                     (DKT. 1348)
  MIKHAIL IYERUSALIMETS,

        DEFENDANTS.



                                INTRODUCTION

      Before the Court is the Government’s Motion to Admit Records in the 1,000

Series (Dkt. 1347) and Motion to Admit Self-Authenticating Emails in the 4000

Series (Dkt. 1348). In these motions, the Government seeks pretrial rulings

regarding the admissibility of 161 exhibits consisting of hundreds of pages.

Generally, Defendants object to the idea of admitting contested exhibits pretrial,

arguing that objections to the relevancy and admissibility of these documents

should be determined within the context of trial. The Court agrees and will deny


MEMORANDUM DECISION AND ORDER - 1
       Case 1:18-cr-00258-BLW Document 1431 Filed 05/04/22 Page 2 of 6




the Government’s motions.

                                     ANALYSIS

      In a recent pretrial order, the Court indicated that the Government should be

able to present its case more efficiently the second time around. (Dkt. 1305.) The

Court placed the Government “on the clock”—giving it 60 trial hours (or 12 trial

days) to present its case-in-chief. (Id.) Given these time limitations, the

Government contends that its presentation of evidence will proceed more

efficiently if the Court “pre-admits” 161 trial exhibits—resolving any objection to

those exhibits now rather than in the context of trial. As noted, those 161 exhibits,

together, contain hundreds of pages. Defendants have not stipulated to the

admission of these exhibits.

      While the Court appreciates the Government’s efforts to streamline its trial

presentation, and recognizes that many of these exhibits were admitted at the first

trial, the Court declines to rule on the admissibility of these exhibits en masse and

outside the context of the presentation of evidence at the second trial. The Court

does, however, remind the Government and Defendants that, under the law of the

case doctrine as applied by the Ninth Circuit, “it is error for a court upon retrial to

reverse an identical evidentiary ruling made during the first trial, barring clear error

or a change in circumstances.” United States v. Tham, 960 F.2d 1391, 1397 (9th

Cir. 1991); see United States v. Phillips, 367 F.3d 846, 856 (9th Cir. 2004) (“Issues


MEMORANDUM DECISION AND ORDER - 2
          Case 1:18-cr-00258-BLW Document 1431 Filed 05/04/22 Page 3 of 6




that a district court determines during pretrial motions become law of the case.”);

United States v. Alexander, 106 F.3d 874, 876 (9th Cir. 1997) (a court may depart

from law of the case where (1) the prior decision was clearly erroneous; (2) there

was an intervening change in the law; (3) the evidence is substantially different; (4)

there are other changed circumstances; or (5) “manifest injustice would otherwise

result”). Thus, to the extent the Court made an evidentiary ruling during the first

trial, that ruling is law of the case and applies to the second trial unless there is a

relevant change in circumstances; an intervening change in law; the evidence at the

second trial is substantially different; or the Court clearly erred in its previous

ruling.

      The Court also notes that although Defendants object to a determination at

this time that the exhibits are admissible, it appears that they do not object as to

foundation for some of the exhibits at issue in the Government’s motions. (See,

e.g., Dkts. 1381, 1385.) The Government could seek a stipulation from Defendants

as to foundation for those exhibits.

      Finally, the Court will specifically address Defendants’ objections regarding

the admissibility of Customs and Border Protection(CBP) records as public records

under Federal Rule of Evidence 803(8).

      Defendants contend that Rule 803(8) is inapplicable to the CBP records

because the records are testimonial and admission of the records would thus violate


MEMORANDUM DECISION AND ORDER - 3
       Case 1:18-cr-00258-BLW Document 1431 Filed 05/04/22 Page 4 of 6




their right to confrontation under the Sixth Amendment pursuant to Crawford v.

Washington, 541 U.S. 36, 53-54 (2004) and its progeny. However, the Court

previously ruled that the CBP records fall under Rule 803(8)(A)(ii) as a “record of

a public office” setting out “a matter observed while under a legal duty to report,

but not including, in a criminal case, a matter observed by law-enforcement

personnel.” (Dkt. 935 at 16.) Further, the Court ruled that the admission of the

CBP records as self-authenticating public records did not violate the Confrontation

Clause. (Id. at 18.) This ruling is law of the case unless there has been a relevant

change in circumstances, an intervening change in law, or the Court clearly erred

in its previous ruling. See Tham, 960 F.2d at 1397; Phillips, 367 F.3d at 856;

Alexander, 106 F.3d at 876. Defendants have not claimed, let alone demonstrated,

a change in circumstances or intervening change in law, and a review of the

controlling case law convinces the Court that its previous ruling was correct.

      In United States v. Morales, 720 F.3d 1194, 1200 (9th Cir. 2013) the Ninth

Circuit determined that Field 826 immigration forms were nontestimonial because

they were created pursuant to the administration of the CBP’s affairs and not for

purposes of establishing or proving a fact at trial. The Ninth Circuit explained that

records that have been “created for the administration of an entity’s affairs and not

for the purpose of establishing or proving some fact at trial—they are not

testimonial.” Id. “A business or public record is not ‘testimonial’ due to ‘the mere


MEMORANDUM DECISION AND ORDER - 4
       Case 1:18-cr-00258-BLW Document 1431 Filed 05/04/22 Page 5 of 6




possibility’ that it could be used in a later criminal prosecution. Rather, such

records are testimonial only if there is some showing that the primary purpose of

the record is for use in litigation.” Id. (citing United States v. Orozco–Acosta, 607

F.3d 1156, 1163-64 (9th Cir. 2010) (noting that a warrant of deportation is

nontestimonial because “neither [its] sole purpose nor even its primary purpose is

use at trial,” but rather “to maintain records concerning the movement of aliens and

to ensure compliance with orders of deportation”)).

      Here, as the Court previously ruled (Dkt. 935), the CBP seizure documents

were created regardless of whether an alleged violator would be prosecuted and the

documents are thus not testimonial. The admission of these documents without a

CBP representative witness does not, therefore, run afoul of Defendants’

confrontation rights under the Sixth Amendment.

      The Court declines to determine at this time whether the CBP records are

inadmissible or should be excluded on other grounds.

                                      ORDER1

      IT IS ORDERED that:




      1
        Objections to the admission of Exhibit 1004 (see Dkt. 1319) are addressed
in a separate order.


MEMORANDUM DECISION AND ORDER - 5
      Case 1:18-cr-00258-BLW Document 1431 Filed 05/04/22 Page 6 of 6




  1. The Government’s Motion to Admit Records in the 1,000 Series (Dkt. 1347)

     is DENIED.

  2. The Government’s Motion to Admit Self-Authenticating Emails in the 4000

     Series (Dkt. 1348) is DENIED.



                                         DATED: May 4, 2022


                                         _________________________
                                         B. Lynn Winmill
                                         U.S. District Court Judge




MEMORANDUM DECISION AND ORDER - 6
